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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
Plaintiff,                            §                       Case No: 1:20-cv-00262-RGA
                                      §
vs.                                   §                       PATENT CASE
                                      §
AVA ENTERPRISES, LLC                  §
                                      §
Defendant.                            §
_____________________________________ §

                               MOTION TO TRANSFER VENUE

       Plaintiff, Display Technologies, LLC (“DT”) and Ava Enterprises, LLC hereby submits

this Motion to Transfer Venue.

       On March 25, 2020, the counsel for Plaintiff and for Ava Enterprises, Inc. conferred and

agreed that Ava Enterprises, Inc. was the correct entity to be named in this matter. Plaintiff filed a

Motion to Substitute Parties (Dkt. 6). The Court’s decision on this motion is pending.

       Defendant Ava Enterprises, Inc. is a California S Corp and headquartered in Oxnard,

California. Therefore, in the event that Ava Enterprises, Inc. is substituted for Ava Enterprises,

LLC, Plaintiff respectfully request that this matter be transferred to the Central District of

California.

       Plaintiff Display Technologies, LLC therefore moves the Court for an order transferring

this matter to the Central District of California.

Dated March 29, 2020                                    Respectfully Submitted,

                                                          /s/ Jimmy Chong
                                                          Jimmy C. Chong
                                                          The Chong Law Firm, P.A.
                                                          2961 Centerville Road, Suite 350
                                                          Wilmington, DE 19808
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                                                     (302) 999-9480
                                                     Email: chong@chonglawfirm.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     DISPLAY TECHNOLOGIES, LLC



                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a)(3) on March 29, 2020March 29, 2020.

                                                 /s/ Jimmy Chong
                                                  Jimmy Chong
